59 F.3d 166NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Clifford HINDS-BEY, Petitioner-Appellant,v.Ronald F. MOATS, Warden;  Attorney General of The State ofMaryland, Respondents-Appellees.
    No. 95-6260.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 18, 1995.Decided June 26, 1995.
    
      Clifford Hinds-Bey, appellant pro se.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.*  Hinds-Bey v. Moats, No. CA-94-3512-S (D. Md. Feb. 7, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Appellant's allegation of bias on the part of the district court is without merit
      
    
    